(Post.3/25/13)
                             Case 4:18-cv-00259-BSM Document 75 Filed 09/27/19 Page 1 of 1
                                                U. S. COURT OF APPEALS - EIGHTH CIRCUIT
                                                            NOA SUPPLEMENT

                              IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                 Please note any additions or deletions to the style of the case from the style listed on the docket sheet (or attach an
                 amended docket sheet with the final style of case)

                                                                                                            9/27/2019
                                                                                                        Date__________________

                 Caption:                            Banks v. Hawkins et al
                                                     ________________________________________________________

                 Case No.:                           4:18-cv-00259-BSM
                                                     ___________________________________________________________

                 Appellant:                          Shelby Hawkins
                                                     ___________________________________________________________

                 Appellant's Attorney(s):            Sara Monaghan
                                                     ___________________________________________________________

                 Appellees:                          Johnny Banks
                                                     ___________________________________________________________

                 Appellee's Attorney(s):             John W. Walker, Shawn Garrick Childs
                                                     ___________________________________________________________

                 Court Reporter(s):                  N/A
                                                     ___________________________________________________________

                                                     Crystal Newton, Deputy Clerk 501-604-5355
                 Name of Person who prepared appeal: _________________________________________________


                  Length of Trial (# of days)           Fee Paid? Y/N:             IFP Granted?            Pending IFP Motion
                                                                                       Y/N                    Pending? Y/N
                           N/A
                           __________                     Y
                                                          __________                 N
                                                                                     _________                    N
                                                                                                                  _______


                   Counsel Retained/Appointed/Pro Se             Pending Motions?
                                                                       Y/N
                  Retained
                  ____________________________                       Y*
                                                                     _________


                 CRIMINAL CASES ONLY:

                 Is defendant incarcerated?           __________________________________________________________

                 Where?            ______________________________________________________________________________
                 Address      of   Defendant:      ___________________________________________________________


                 Please list all other defendants in this case if there were multiple defendants:
                 ____________________________________________________________________________________



                                   *DE #70 Motion in Limine, #73 Motion to Stay
                 Special Comments: ____________________________________________________________________
